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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA AND THE
STATE OF CALIFORNIA, ex rel.
KIMBERLY HERMAN, AMY LESTAGE,
and KEVIN ROSEFF,

               Plaintiffs
                                                            CIVIL ACTION NO.:
       vs.                                                  11-cv-12131 RWZ

COLOPLAST CORP. et al.,

               Defendants.


                   DECLARATION OF PAUL W. SHAW IN SUPPORT
                 OF THE MOTION FOR PARTIAL RECONSIDERATION

       I, Paul W, Shaw, declare as follows:

       1.      I am an attorney licensed to practice law in the Commonwealth of Massachusetts.

       2.      I represent the plaintiffs Kimberly Herman, Amy Lestage, and Kevin Roseff

(“Plaintiffs”) in the above-captioned matter.

       3.      I submit this declaration in support of Plaintiffs’ Motion for Partial

Reconsideration filed herewith. This declaration is based upon my personal knowledge.

       4.      In September 2017, counsel for Shield California Health Care Center, Inc.

(“Shield”) requested a meeting with Plaintiffs’ counsel and the Massachusetts United States

Attorney. That meeting was held at the offices of Plaintiffs’ counsel in Boston on October 13,

2017. In attendance for Shield were attorneys Patric Hooper and David Schumacher. From the

U.S. Attorney’s Office was Assistant U.S. Attorney George “Bunker” Henderson, while I was

present with attorneys Taylor Neff and Cecilie MacIntyre on behalf of Plaintiffs.

       5.      The focus of that meeting was a discussion of the merits of Plaintiffs’ claims

against Shield, and the significance of the prior litigation regarding Shield’s violation of the UBL



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regulation, U.S. ex rel. Donath v. Whitestone Corp (“Donath”). During that meeting, Mr.

Hooper made certain statements about the Donath settlement in 2011 and the position taken by

the California Attorney General’s Office. Specifically, Mr. Hooper stated that the California

Attorney General’s Office (specifically Deputy Attorney General Siobhan Franklin) had not been

interested in rebates or discounts that were not included on invoices (“off-invoice rebates”). Mr.

Hooper further asserted that the California Attorney General’s Office knew about off-invoice

rebates, but did not pursue the issue.

        6.     In response, I informed Mr. Hooper that Siobhan Franklin, the California Deputy

Attorney General who had handled the Donath litigation, was still working at the California

Attorney General’s Office and was prepared to testify in the current Shield litigation contrary to

the assertions made by Mr. Hooper.

        7.     After Shield filed its motion for summary judgment on December 26, 2017,

Plaintiffs filed the declarations of both DAG Siobhan Franklin (ECF No. 312) and Pansy Watson

(ECF No. 313) in support of the opposition to the motion. However, Shield only moved to strike

and exclude the declaration of Pansy Watson based on Plaintiffs’ failure to list her as a witness in

their Rule 26(a) disclosures. See ECF No. 317.

        8.     At no time prior to the filing of Shield’s current Motion to Exclude Belatedly-

Disclosed Witnesses from Testifying at Trial (ECF No. 355) did Shield ever raise an issue about

DAG Siobhan Franklin.

        Signed under the penalty of perjury this 2nd day of January, 2019.


                                              /s/ Paul W. Shaw
                                              __________________________________
                                              PAUL W. SHAW
                                              (Mass BBO No. 455500)



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